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  EXHIBIT A
        Case
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                       IN THE UNITED STATES DISTRICT COURT
                        FOR THE WESTERN DISTRICT OF TEXAS
                                  AUSTIN DIVISION

MWK RECRUITING, INC.                             §
                                                 §
VS.                                              §           No. 1:18-cv-0444 RP
                                                 §
EVAN P. JOWERS, et al.                           §

                                             ORDER

       The downward spiral of this case into absurdity seems to have no end. Before the Court at

this time is Evan Jowers’ Motion to Compel Compliance of USDC Western District of Texas

Admissions Committee with Subpoena (Dkt. No. 263), and the Plaintiff’s Response (Dkt. No. 264).

The issue presented by the motion is whether the Court should compel compliance with a document

subpoena Jowers served on this Court’s Admissions Committee, requesting documents surrounding

the Committee’s consideration of Robert Tauler’s application for admission to the bar of this Court.

       Tauler—Jowers’ attorney in this case—applied for admission to this Court after the

undersigned ordered that he associate co-counsel in the case who was licensed to practice in the

Western District of Texas, and who resided in the Austin Division of the District. Dkt. No. 236. As

noted in a prior order (Dkt. No. 252), Tauler responded to this directive by obtaining admission to

the State Bar of Texas, opening some sort of office in Austin, and applying for admission to the

Western District. As also noted in that order, when the Court inquired into the status of Tauler’s

application, the Committee informed the Court that the application was under consideration. The

Court thus stated that it would await the Committee’s determination, and in the meantime permitted

Tauler to continue appearing as counsel in this case pro hac vice.

       Perhaps unsurprisingly (given the bizarre path this case has taken) on February 19, 2021,

Jowers served the Admissions Committee with a subpoena issued under the heading of this case.
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The subpoena requested the production of six categories of documents relating to Jowers, Tauler,

and the Kinney entities, as well as a list of the Committee’s members. See Dkt. No. 263 at 11, 263-3

at 8. It would be reasonable at this point to pause and ask, “Why in the world would a party in a

pending lawsuit that raises trade secret, non-competition and related issues serve a subpoena on a

court admissions committee?” The back story is apparently that Kinney “hand delivered materials

to the Committee to [sic] for the Committee’s review of Jowers’ counsel’s admission in an effort to

negatively influence Jower’s counsel’s admission.” Dkt. 263 at 4-5. Wanting to know what those

documents were, Tauler (“Jowers’ counsel”) served the subpoena on the Committee. Tauler states

in an affidavit attached to this motion that the Committee has objected to the subpoena via letter, and

has declined to produce documents. (He does not attach the letter, however.) The sole argument in

support of the motion to compel is that Tauler has a right to due process with regard to the

Committee’s consideration of his application for admission, and the requested documents are

relevant to whether he’s been denied due process. In other words, the motion is a vehicle for Tauler

to litigate his grievances regarding his application for admission to this Court, and Kinney’s actions

related to it.

        For a third-party subpoena to be proper, it must, among many other things, seek information

that is relevant to the lawsuit in which the subpoena was issued. See, e.g., Wiwa v. Royal Dutch

Petroleum Co., 392 F.3d 812, 820-21 (5th Cir. 2004). Whether Robert Tauler’s due process rights

in regard to his application for admission to the bar of this Court have been violated is quite plainly

not one of the issues presented in this lawsuit. Because the subpoena seeks materials that are

irrelevant to any claim or defense raised by the parties to this case, Evan Jowers’ Motion to Compel




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Compliance of USDC Western District of Texas Admissions Committee with Subpoena (Dkt. No.

263) is DENIED.

       The Court has been extremely patient with Tauler the past several months, despite his erratic

behavior and combative filings. The present motion is the last straw, however, as the undersigned’s

patience has run out. Tauler is WARNED that any further abuses of process such as the present

subpoena and motion to compel, any violation of rules, or any other misconduct will result in

sanctions in addition to those that are already under consideration for past actions.

       SIGNED this 8th day of March, 2021.



                                             _____________________________________
                                             ANDREW W. AUSTIN
                                             UNITED STATES MAGISTRATE JUDGE




                                                 3
